 Case 19-13271-elf           Doc 44      Filed 08/24/20 Entered 08/24/20 12:43:25                Desc Main
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                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: Angela L. Cephas
                                    Debtor                                            CHAPTER 13

PNC BANK NATIONAL ASSOCIATION
                     Movant
           vs.
                                                                                    NO. 19-13271 ELF
Angela L. Cephas                             Debtor

Jeffrey Cephas                               Co-Debtor

William C. Miller Esq.                       Trustee
                                                                          11 U.S.C. Sections 362 and 1301

                MOTION OF PNC BANK NATIONAL ASSOCIATION
                   FOR RELIEF FROM THE AUTOMATIC STAY
        UNDER SECTION 362 AND THE CO-DEBTOR STAY UNDER SECTION 1301


         1.        Movant is PNC BANK NATIONAL ASSOCIATION.

         2.        Debtor Angela L. Cephas and Co-Debtor Jeffrey Cephas are the owners of the premises 69

 Bartram Avenue, Lansdowne, PA 19050, hereinafter referred to as the mortgaged premises.

         3.        Movant is the holder of a mortgage, original principal amount of $178,489.00 on the

 mortgaged premises that was executed on July 26, 2007 by Debtor Angela L. Cephas and Co-Debtor Jeffrey

 Cephas as co-mortgagors. Said mortgage was recorded on July 30, 2007 at Instrument No. 2007067705 in

 Delaware County. Documentation attached hereto as Exhibit A is provided in support of right to seek a lift of

 stay and foreclose if necessary.

         4.        Co-Debtor Jeffrey Cephas, who has not filed for bankruptcy in this case, is liable on the

 mortgage loan secured by the aforesaid mortgage together with the Debtor Angela L. Cephas.

         5.        William C. Miller Esq., is the Trustee appointed by the Court.

         6.        The commencement and/or continuation of the mortgage foreclosure proceedings by reason

 of non-payment of monthly mortgage payments were stayed by the filing of a Chapter 13 Petition in

 Bankruptcy by the Debtor.
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        7.       Debtor and Co-Debtor have failed to make the monthly post-petition mortgage payments in

the amount of $1,678.64 for the months of June 2020 through July 2020 and $1,566.28 for the month of

August 2020.

        8.       In addition to the other amounts due to Movant reflected in this Motion, as of the date

hereof, in connection with seeking the relief requested in this Motion, Movant has also incurred $1,050.00 in

legal fees and $181.00 in legal costs. Movant reserves all rights to seek an award or allowance of such fees

and expenses in accordance with applicable loan documents and related agreements, the Bankruptcy Code

and otherwise applicable law.

        9.       The total amount necessary to reinstate the loan post-petition, less suspense balance of

$1,637.58 is $3,285.98 (plus attorney’s fees & costs).

        10.     Movant is entitled to relief from the automatic stay for cause pursuant to 11 U.S.C. § 362(d).

        11.      This motion and the averments contained therein do not constitute a waiver by Movant of

its right to seek reimbursement of any amounts not included in this motion, including fees and costs, due

under the terms of the mortgage and applicable law.

        WHEREFORE, Movant prays that an Order be entered modifying the Automatic Stay under Section

362 and the Codebtor Stay under Section 1301 of the Bankruptcy Code, so as to permit Movant to proceed

with its mortgage foreclosure on the mortgaged premises, and to allow the Sheriff's Grantee to take any legal

action to enforce its right to possession of the mortgaged premises. Further, Movant prays that an Order be

entered awarding Movant the costs of this suit, including reasonable attorney’s fees in accordance with the

mortgage, loan documents and related agreements, and current law, together with interest.


                                                         /s/Rebecca A. Solarz, Esquire
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